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                                No. 22-11270-BB

                IN THE UNITED STATES COURT OF APPEALS
                      FOR THE ELEVENTH CIRCUIT


                                PROJECT VERITAS

                                            Plaintiff-Appellant,

                                       v.

                          CABLE NEWS NETWORK, INC.

                                            Defendant-Appellee.


                  On Appeal from the United States District Court
                       for the Northern District of Georgia
                (Case No. 1:21-cv-01722-SCJ, Hon. Steve C. Jones)


                         PRINCIPAL BRIEF OF
                PLAINTIFF-APPELLANT PROJECT VERITAS


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June 22, 2022
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Project Veritas v. Cable News Network, Inc.
Case No. 22-11270-BB
             CERTIFICATE OF INTERESTED PERSONS AND
                 CORPORATE DISCLOSURE STATEMENT

                        Corporate Disclosure Statement

      Plaintiff-Appellant Project Veritas is a non-profit 501(c)(3) public benefit

corporation.   Project Veritas has no parent corporation and no publicly held

corporation owns 10% or more of its stock.

                               Interested Persons

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Oliveri, Joseph R. (Appellate Counsel for Plaintiff-Appellant)


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Project Veritas v. Cable News Network, Inc.
Case No. 22-11270-BB
Project Veritas (Plaintiff-Appellant)

Project Veritas Action (A separate 501(c)(4) corporate entity related to Plaintiff-

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Wagner, Heather (Trial Counsel for Plaintiff-Appellant)

Warner Bros. Discovery, Inc. (NASDAQ: WBD) (Parent corporation of

Defendant-Appellee)

Warner Media, LLC (Limited liability company related to Defendant-Appellee)

WarnerMedia Holdings, Inc. (Corporation related to Defendant-Appellee)




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              STATEMENT REGARDING ORAL ARGUMENT

      Plaintiff-Appellant Project Veritas respectfully submits that oral argument

would materially assist the decisional process. This case presents an issue of

fundamental importance—Project Veritas’ “right to the protection of [its] own good

name,” which the Supreme Court has recognized is a “basic ... right” of “our

constitutional system.” Gertz v. Robert Welch, Inc., 418 U.S. 323, 341 (1974). This

case also presents multiple critical errors of law—including the district court’s

erroneous and unprecedented holding that a factually false statement is

“substantially true” under a comparative-harm test that the law squarely rejects—

that have improperly denied Project Veritas its day in court to protect its “basic ...

right” “to the protection of [its] own good name.”




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                                INTRODUCTION

      This case arises from CNN’s publication of false and defamatory statements

accusing Project Veritas of publishing false information when, in fact, CNN knew

that Veritas had published truthful but (supposedly) private information. In the

world of journalism, the difference between the two cannot be overstated: while the

former is the death knell for professional journalists, the latter is the stuff of

accolades and awards. Stephen Glass and Sabrina Ruben Erdely no longer have

careers in the industry, while The New York Times has won Pulitzers for stories like

the Pentagon Papers. Here, the district court failed to appreciate this fundamental

difference and erred legally as a result, misapplying the “substantial truth” doctrine

and then compounding that error by improperly (and incorrectly) finding facts at the

motion-to-dismiss stage.

      On February 11, 2021, Veritas published on its official Twitter account a

video report showing a reporter’s attempt to interview a high-ranking Facebook

official outside a residence. Although the report did not indicate the State, city, or

even street where it was filmed, a house number was visible in the background, and

on that basis Twitter permanently suspended Veritas’ account for (supposedly)

violating its policy against publishing truthful but private information. Both CNN

and CNN Anchor Ana Cabrera reported exactly that, in an article and a “tweet,”




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respectively. There was no allegation that what Veritas published was in any way

false—because it was not.

      But just four days later, Cabrera turned around and stated on CNN national

television that Twitter had suspended Veritas for publishing misinformation (which

CNN concedes means “false information”). Cabrera’s statement was plainly false,

and she and CNN knew it—as confirmed by her tweet and CNN’s reporting just

days earlier. But Cabrera and CNN ignored the truth to attack Veritas’ credibility

and integrity, leveling perhaps the most damaging accusation possible against a

journalistic organization. Because Cabrera and CNN refused to correct the record,

Veritas sued CNN for defamation.

      Despite the plain factual falsity of Cabrera’s accusation, the district court

dismissed Veritas’ defamation claim on the ground that Cabrera’s accusation was

“substantially true.” The district court reached that holding not because it held that

“the overall gist or substance of [Cabrera’s] statement is true”—which is the proper

standard under New York law, e.g., Chau v. Lewis, 771 F.3d 118, 129-30 (2d Cir.

2014)—but by comparing the magnitude of harm that it believed Veritas suffered

from Cabrera’s defamatory statement to the magnitude of harm it believed Veritas

would have suffered if Cabrera had instead reported the truth, and then concluding,

as a matter of law, that those two harms were equivalent. (A51.)




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        In so doing, the district court fundamentally erred in multiple ways. To begin,

the court failed to apply the correct test for substantial truth, and instead adopted a

comparative-harm test even though “the substantial truth doctrine is not concerned

with harm,” Jewell v. NYP Holdings, Inc., 23 F. Supp. 2d 348, 394 (S.D.N.Y. 1998),

and it has long been the law that “[i]t is not a defense to a libel or slander that the

plaintiff has been guilty of offenses other than those imputed to him, or of offenses

of a similar character,” Sun Printing & Publ’g Ass’n v. Schenck, 98 F. 925, 926 (2d

Cir. 1900).1 The court then compounded its error by impermissibly finding facts

against Veritas at the pleadings stage, including on the question of harm, even

though the issue of harm presents a question of fact “peculiarly within the jury’s

province.” Yammine v. DeVita, 43 A.D.3d 520, 521 (3d Dep’t 2007). Veritas pled

extensive facts that Cabrera’s defamatory accusation that Veritas published

“misinformation” is far more damaging than a statement that it published truthful

but (supposedly) private information. (A7, A22, ¶¶2, 58-59.) Indeed, Veritas pled

that for a journalistic organization like it, credibility and integrity are paramount,

and accusations of publishing misinformation uniquely attack that credibility and

integrity and impute conduct “incompatible with” and “disqualification to fulfill”




1
    Emphasis added unless otherwise noted.


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the business of “an investigative journalism organization.” (Id.) But the district

court ignored those well-pled facts—and found to the contrary as a matter of law.

        Simply put: A materially false statement is not “substantially true.” To

vindicate that commonsense proposition, this Court must reverse the decision below.

                        STATEMENT OF JURISDICTION

        The district court had subject-matter jurisdiction under 28 U.S.C. §1332

because there was (and is) complete diversity of citizenship and the amount in

controversy exceeds $75,000, exclusive of interest and costs. The district court

dismissed Veritas’ Complaint on March 17, 2022 (A33-55) and entered final

judgment on March 18, 2022 (A56).              Under Federal Rule of Appellate

Procedure 4(a)(1)(A), Veritas timely filed its Notice of Appeal on April 12, 2022,

fewer than 30 days after the district court’s final judgment. (A57-60.) This Court

has jurisdiction to hear Veritas’ appeal from that final judgment under 28 U.S.C.

§1291.

                          STATEMENT OF THE ISSUES

        1.     Under New York defamation law, a defamatory statement is only

“substantially true” if “the overall gist or substance of the challenged statement is

true”;2 “the substantial truth doctrine is not concerned with harm.”3 Defendant-


2
    Chau v. Lewis, 771 F.3d 118, 129-30 (2d Cir. 2014).
3
    Jewell v. NYP Holdings, Inc., 23 F. Supp. 2d 348, 394 (S.D.N.Y. 1998).


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Appellee CNN (through anchor Ana Cabrera) stated that Twitter suspended Veritas

for publishing misinformation (i.e., false information) when, in reality, Twitter

suspended Veritas for publishing truthful but (supposedly) private information. The

district court expressly recognized the difference between CNN’s false statement

and the truth but nevertheless held CNN’s statement “substantially true”—and

dismissed Veritas’ defamation claim—because, it concluded, CNN’s false statement

would do no more harm to Veritas’ reputation than the truth. Did the court err in

adopting and applying a comparative-harm test for substantial truth?

        2.    It is axiomatic that the integrity and credibility of a journalistic

organization are paramount to its ability to perform its business.4 And it is equally

axiomatic that the issue of harm “is peculiarly within the jury’s province.”5 Even if

the district court’s comparative-harm test for substantial truth were correct (it is not),

did the court err by substituting its own judgment for that of the jury and holding, as

a matter of law on the pleadings, that CNN’s false statement that Veritas was

suspended from Twitter for publishing “misinformation” was no more harmful (as

a matter of law) to Veritas’ reputation than a true statement that Veritas was




4
 E.g., Buckley v. Littell, 539 F.2d 882, 896-97 (2d Cir. 1976); Wilson v. Cable News
Network, Inc., 444 P.3d 706, 722 (Cal. 2019); Bill Kovach & Tom Rosenstiel, The
Elements of Journalism 45 (4th ed. 2021).
5
    E.g., Yammine v. DeVita, 43 A.D.3d 520, 521 (3d Dep’t 2007).


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suspended from Twitter for publishing truthful but (supposedly) private

information?

        3.     Although the district court did not reach the issue, CNN argued below

that Veritas failed to plead actual malice. Veritas pled that just four days before

CNN (through anchor Ana Cabrera) falsely broadcast that Twitter had suspended

Veritas for publishing misinformation, Cabrera truthfully tweeted and CNN

truthfully reported that Twitter had suspended Veritas’ account for publishing

truthful but (supposedly) private information. Veritas thus pled that CNN (and

Cabrera) had actual knowledge of the reason for Veritas’ suspension but lied about

it. Veritas also pled facts constituting well-recognized circumstantial evidence of

actual malice, including facts demonstrating CNN’s pursuit of a preconceived

storyline and disregard of contradictory evidence,6 motive to defame and bias against

Veritas,7 failure to comply with journalistic standards,8 and refusal to retract its

defamatory statements.9 Did Veritas sufficiently plead actual malice?




6
  E.g., Goldwater v. Ginzburg, 414 F.2d 324, 337 (2d Cir. 1969); Sharon v. Time,
Inc., 599 F. Supp. 538, 576 (S.D.N.Y. 1984).
7
 E.g., Harte-Hanks Commc’ns, Inc. v. Connaughton, 491 U.S. 657, 668 (1989);
Celle v. Filipino Rep. Enters. Inc., 209 F.3d 163, 183, 186, 189 (2d Cir. 2000).
8
  E.g., Kerwick v. Orange Cnty. Publ’ns Div. of Ottaway Newspapers, Inc.,
53 N.Y.2d 625, 627 (1981); Connaughton, 491 U.S. at 693.
9
    E.g., Tavoulareas v. Piro, 763 F.2d 1472, 1477 (D.C. Cir. 1985).


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                           STATEMENT OF THE CASE

         A.    Statement of Facts

         This case arises from CNN Anchor Ana Cabrera’s publication of a false and

defamatory statement accusing Veritas of publishing misinformation—i.e., false

information10—despite having actual knowledge that her accusation was completely

false.

               1.    Non-Profit, Independent Journalist Project Veritas Uses
                     Twitter to Report News—Including News About CNN.

         Veritas—a non-profit, 501(c)(3) public-benefit corporation—is a journalistic

organization that “investigates and exposes corruption, dishonesty, self-dealing,

waste, fraud, and other misconduct in public and private institutions.” (A12-13,

¶20.)     To further its “goal of ... enhancing ethical conduct and institutional

transparency,” Veritas’ “journalists often work undercover and enlist the help of

whistleblowing insiders to identify and expose institutional corruption through the

use of audio or video recordings [that] corroborate what they learn concerning the

subjects of their investigations,” including fellow media entities. (A13, ¶¶21-23.)

Like many other journalistic organizations, Veritas uses Twitter to publish its news

reports and videos. (A13, ¶25.)




10
  CNN conceded below that “misinformation” means “false information.” (DE 20-1
at 18.)


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      As relevant here, Veritas has frequently reported about CNN as part of its

efforts to ensure transparency in the media industry. (A13, A21, ¶¶24, 51.) Veritas

has published numerous exposés “call[ing] into question the accuracy and integrity

of CNN’s reporting,” including “videos of CNN employees making statements that

appear to show significant bias in reporting, and leaked tapes of network executives

and staffers in editorial meetings” that “suggest[] CNN’s intent to bolster [] stated

position[s] on controversial issues.” (A21, ¶51.) CNN has responded to Veritas’

reporting with substantial animosity, including by branding Veritas a “right-wing”

group that employs “ethically dubious reporting strategies,”11 and even baselessly

reporting it to law enforcement. (A21, ¶51.)

             2.    Veritas Publishes a Report on Twitter and Twitter Suspends
                   Veritas’ Account for (Supposedly) Violating Its Policy
                   Against Publishing Truthful But Private Information.

      On February 11, 2021, Veritas published on its official Twitter account a

video report showing one of its reporters attempting to interview Facebook vice

president Guy Rosen outside a residence. (A8, A14, ¶¶4, 26.) Although the report

did not indicate the State, city, or even street where it was filmed, a house number

was visible in the background while the reporter asked Mr. Rosen questions that he



11
   Oliver Darcy, Right-Wing Group Targets New York Times Reporters Who Have
Aggressively Reported on Its Spy Tactics, CNN (Mar. 11, 2022),
https://www.cnn.com/2022/03/11/media/project-veritas-new-york-
times/index.html.


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refused to answer. (A14, ¶27.) Broadcasting such attempted interviews—even with

a house number visible in the background—is a common journalistic practice, and

such videos are regularly posted on Twitter without incident, including by CNN.

(A14-15, ¶¶27-29.)12

      Nevertheless, later that same day, because a house number was visible in

Veritas’ video, Twitter permanently suspended Veritas’ account for violating its

policy against publishing truthful but “private” information. (A9, A14, ¶¶5, 27.)13

There was no suggestion that Veritas’ report contained any false information—only

truthful but (supposedly) private information. (Id.)

             3.     CNN and CNN Anchor Ana Cabrera Correctly Report That
                    Twitter Suspended Veritas’ Account for Supposedly
                    Violating Twitter’s Policy Against Publishing Private
                    Information.

      CNN and CNN Anchor Ana Cabrera immediately reported on Twitter’s

suspension of Veritas’ account. On the same day Twitter suspended Veritas’

account—February 11, 2021—CNN published an article reporting on the suspension

and the reason for it:




12
   Twitter permitted a CNN video showing the home address of a private individual
to remain on its platform. (A14-15, ¶¶28-29.)
13
  Paragraph 27 of the Complaint contains a typographical error: it lists a date of
“February 22” instead of “February 11.” As the Complaint elsewhere makes clear,
Twitter suspended Veritas’ account on February 11. (See, e.g., A9, ¶5.)


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      Twitter permanently banned an account on Thursday belonging to
      Project Veritas....

      The decision followed what a Twitter (TWTR) spokesperson described
      to CNN Business as repeated violations of the platform’s policies
      prohibiting sharing—or threats of sharing—other people’s private
      information without consent.

(A9, A16, ¶¶6, 31.)14 Also on that same day, CNN Anchor Ana Cabrera tweeted

about Veritas’ suspension and the reason for it:

      NEW: Twitter permanently bans Project Veritas

      The decision followed what a Twitter spokesperson described to CNN
      as repeated violations of Twitter’s policies prohibiting the sharing—or
      threats of sharing—of other people’s private information without
      consent.

(A9, A17, ¶¶6, 37.)15 CNN’s article and Cabrera’s tweet were clear in reporting that

Twitter had suspended Veritas’ account for publishing supposedly private

information—they did not remotely suggest Veritas had been suspended for

publishing false information, because it had not been. (See id.)




14
   Brian Fung, Twitter Permanently Bans Project Veritas Account, CNN (Feb. 11,
2021),     https://www.cnn.com/2021/02/11/tech/twitter-project-veritas/index.html
(cited at A9, A16, ¶¶6, 31).
15
     Ana Cabrera (@AnaCabrera), Twitter (Feb. 11, 2021, 4:27pm),
https://twitter.com/anacabrera/status/1359977301312761857 (cited at A9, A17, ¶¶6,
37).


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            4.     Just Days Later, Cabrera Knowingly Lies About Veritas,
                   Falsely Stating on CNN Television That Twitter Suspended
                   Veritas’ Account for Publishing Misinformation.

      Just four days later, and notwithstanding her prior (truthful) reporting, Cabrera

falsely told a national audience on CNN television that Twitter had suspended

Veritas’ account for publishing misinformation (i.e., false information). During a

February 15, 2021 on-air discussion, Cabrera reported:

      We’re starting to see companies cracking down to try to stop the spread
      of misinformation and to hold some people who are spreading it
      accountable, Brian. For example, Twitter has suspended the account
      of Project Veritas, a conservative activist, uh, activist organization. At
      least that’s how they couch themselves with followers …. But this is
      part of a much broader crackdown, as we mentioned, by social media
      giants on accounts that are promoting misinformation.

(A17-18, ¶39.)

      Cabrera and CNN thus intentionally lied about Veritas, falsely accusing it of

publishing misinformation despite knowing that Veritas had actually been suspended

from Twitter for publishing truthful but (supposedly) private information. (A10,

A18-19, ¶¶8-10, 42-43.)

            5.     Cabrera’s False Statement Causes Substantial Harm to
                   Veritas, and CNN and Cabrera Refuse Veritas’ Demand to
                   Retract It.

      By accusing Veritas of publishing misinformation, Cabrera and CNN leveled

the most serious and damaging accusation possible against it: attacking the veracity

and credibility of Veritas’ reporting and thereby directly imputing to Veritas



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unfitness to engage in its business as an investigative journalism organization. (A19,

A22, ¶¶44, 55-58.) Accordingly, that same day, Veritas demanded a retraction from

CNN and Cabrera. (A19-20, ¶45.)

      CNN and Cabrera, however, refused to correct the record. (A19-20, ¶¶45-

46.) In a letter from their counsel, CNN and Cabrera expressly refused to issue a

retraction or correction, stating only that they did not believe their statement was

“defamation per se.” (A19-20, ¶45.) Notably, CNN and Cabrera did not even

attempt to defend their statement as true—because it plainly is not. (Id.) Left with

no other choice, Veritas filed this lawsuit.

      B.     Course of Proceedings Below

             1.     Veritas Sues CNN for Defamation and CNN Moves to
                    Dismiss.

      Veritas filed its complaint on June 15, 2021, asserting a defamation claim

against CNN based on Cabrera’s false statement on CNN television that Twitter had

suspended Veritas for publishing and “promoting misinformation.” (A20-23, ¶¶47-

59.) Veritas pled that Cabrera’s statement is demonstrably false: Twitter did not

suspend Veritas’ account for publishing or promoting misinformation, but rather for

publishing truthful information that Twitter deemed to be “private.” (A10, A18-19,

A20, ¶¶8-10, 42-43, 49.) Veritas further pled that Cabrera (and, thus, CNN) had

actual knowledge of their statement’s falsity, including because just four days

earlier, Cabrera had tweeted and CNN had reported that Twitter suspended Veritas


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for publishing (supposedly) private information in (supposed) violation of Twitter’s

policy prohibiting the publication of truthful but private information without

consent. (A9, A16, A17, A20-21, ¶¶6, 31, 37, 50-51.) And Veritas pled that

Cabrera’s accusation caused it substantial harm, including by “imput[ing] general

disqualification to fulfill its function as an investigative journalism organization by

lowering the credibility of its reporting and [] reputation for veracity.” (A22, ¶¶55-

58.)

       CNN moved to dismiss under Rule 12(b)(6), contending that Cabrera’s

statement was “substantially true” and that even if it were not, Cabrera did not make

it with actual malice.      (A28-32.)   In asserting that Cabrera’s statement was

“substantially true,” CNN invited the district court to err by fundamentally

misconstruing the substantial truth inquiry. According to CNN, its defamatory

statement was “substantially true”—regardless of the true facts—because:

       To the average viewer, there is no material difference from a
       reputational standpoint between being banned for “misinformation”
       and being banned for posting prohibited [truthful but private]
       information (or threatening to share it).

(DE 20-1 at 16.) CNN’s actual malice argument rehashed its substantial truth

argument. (Id. at 20-21.)




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             2.    The District Court Grants CNN’s Motion to Dismiss on the
                   Ground That Cabrera’s On-Air Statement Was
                   “Substantially True”—Based on a Comparative Harm
                   Analysis.

      The district court granted CNN’s motion to dismiss. (A55.) Applying New

York law, the court first concluded—correctly—that Cabrera’s on-air statement

reasonably conveyed that “Veritas was suspended from Twitter for promoting

misinformation,” and that Veritas plausibly pled that Cabrera “intended or endorsed”

that meaning. (A46-48.)

      But, in considering the question of substantial truth, the district court accepted

CNN’s invitation to err. Although the court expressly acknowledged that there is a

difference between accusing Veritas of publishing misinformation (what CNN

falsely said) and publishing truthful but private information (what Twitter actually

accused Veritas of doing), the court evaluated the “substantial truth” of Cabrera’s

statement by comparing what it believed to be the harmfulness of Cabrera’s false

statement to what it believed to be the harmfulness of the truth:

      While Project Veritas asserts that CNN’s statements implying that
      Project Veritas was banned from Twitter for spreading misinformation
      maligns its “journalistic integrity,” the pleaded truth of being accused
      of violating [Twitter’s private information policy] similarly maligns a
      journalist’s professional reputation. In essence, “substitute the true
      for the false and the damage to plaintiff’s reputation would be no
      less.” Furthermore, while there is some difference between violating a
      policy by providing incorrect or misleading information and violating
      a policy by truthfully providing someone’s private information (and
      potentially exposing a person to harm), the distinction is not enough to



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      make the statement at issue actionable as both violations are similarly
      damaging to the journalist’s reputation.

(A51 (brackets, ellipsis, and citations omitted).) And because the district court found

that the harmfulness of falsely accusing Veritas of publishing misinformation was

no more than the harmfulness of truthfully stating that Veritas published truthful but

private information—despite the issue of harm presenting a question of fact—the

court held Cabrera’s statement to be substantially true. (Id.) The court granted

CNN’s motion on that basis without considering CNN’s actual malice argument and

entered judgment for CNN the next day. (A55-56.) This appeal follows. (A57-60.)

      C.     Standard of Review

      This Court “review[s] de novo a district court’s grant of a motion to dismiss

for failure to state a claim under [Rule 12(b)(6)] ... accept[ing] factual allegations in

the complaint as true and constru[ing] them in the light most favorable to the

plaintiff.” Tims v. LGE Cmty. Credit Union, 935 F.3d 1228, 1236 (11th Cir. 2019).

A plaintiff need only “state a claim to relief that is plausible on its face.” Bell Atl.

Corp. v. Twombly, 550 U.S. 544, 570 (2007). This standard is “not a probability

requirement”; it simply “asks for more than a sheer possibility that a defendant has

acted unlawfully.” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009).

                          SUMMARY OF ARGUMENT

      On February 15, 2021, CNN Anchor Ana Cabrera told a national television

audience that Veritas had been suspended from Twitter because it published and


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“promot[ed] misinformation.” (A17-18, ¶39.) But that statement was false. In fact,

Veritas had been suspended from Twitter because it published truthful information

that Twitter believed violated its policy against publishing truthful but private

information. (A9, A14, ¶¶5, 27.) There was no suggestion that what Veritas had

published was false. (Id.) And Cabrera knew that and even tweeted about that real

reason for Veritas’ suspension just four days earlier. (A9, A17, ¶¶6, 37.) Her

February 15 statement was factually false. But the district court held it to be

“substantially true” because it believed that the harm Veritas suffered from

Cabrera’s false statement (accusing Veritas of publishing misinformation) was the

same as the harm Veritas would have suffered had Cabrera reported the truth (that

Veritas published truthful but (supposedly) private information). In so doing, the

district court reversibly erred in multiple ways.

      First, the district court failed to apply the proper test for determining whether

a statement is “substantially true.” Under New York law, a defamatory statement is

only “substantially true” if “the overall gist or substance of the challenged statement

is true.” Chau v. Lewis, 771 F.3d 118, 129-30 (2d Cir. 2014). “In other words,” a

statement can only be substantially true “‘[w]hen the truth is so near to the facts as

published that fine and shaded distinctions must be drawn ... to sustain a charge of

libel.’” Goldman v. Reddington, 417 F. Supp. 3d 163, 171 (E.D.N.Y. 2019) (quoting

Fleckenstein v. Friedman, 266 N.Y. 19, 23 (1934)). Thus, a statement that “charges



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an act of misconduct” that the plaintiff did not actually “engage[] in,” is not

substantially true. 1 Rodney A. Smolla, Law of Defamation §5:20 (2d ed. 2022).

Under that test, Cabrera’s defamatory statement is plainly not “substantially true.”

      Second, in place of the proper test for substantial truth, the district court

adopted a comparative-harm test that the law expressly rejects. “[T]he substantial

truth doctrine is not concerned with harm,” Jewell v. NYP Holdings, Inc., 23 F. Supp.

2d 348, 394 (S.D.N.Y. 1998), and, as such, “[i]t is not a defense to a libel or slander

that the plaintiff has been guilty of offenses other than those imputed to him, or of

offenses of a similar character,” Sun Printing & Publ’g Ass’n v. Schenck, 98 F. 925,

926 (2d Cir. 1900); Restatement (Second) of Torts §581A cmt. f (It is “the truth or

falsity of the particular charge that is to be determined. It is not enough that the

accused person is found to have engaged in some other substantially different kind

of misconduct even though it is equally or more reprehensible.”).

      Third, the district court compounded its error by misapplying its own

improper comparative-harm test in multiple ways. To begin, even though assessing

the gravity of damage caused by a defamatory statement presents a question of fact

“peculiarly within the jury’s province,” e.g., Yammine v. DeVita, 43 A.D.3d 520,

521 (3d Dep’t 2007); Toomey v. Farley, 2 N.Y.2d 71, 83 (1956), the court ignored

Veritas’ well-pled facts that Cabrera’s defamatory accusation that Veritas published

and promoted “misinformation” is far more damaging than a statement that it



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published truthful but (supposedly) private information. (A7-8, A22-23, ¶¶2, 58-

59.) As Veritas pled, for a journalistic organization, credibility and integrity are

paramount, and accusations of publishing misinformation (unlike accusations of

publishing truthful but private information) directly attack that credibility and

integrity and impute conduct “incompatible with” and “disqualification to fulfill”

the business of “an investigative journalism organization.” (Id.) Those well-pled

facts are not conclusory, and substantial caselaw and leading authorities confirm

them. But the district court impermissibly ignored them—and found to the contrary

as a matter of law.

      Finally, although the district court did not reach the issue, CNN argued below

that Veritas failed to plead actual malice. But Veritas pled facts demonstrating that

Cabrera (and CNN) had actual knowledge that their defamatory statement was false:

Cabrera tweeted and CNN reported just four days earlier that Twitter suspended

Veritas for publishing truthful but (purportedly) private information—not for

publishing misinformation. Veritas further pled facts constituting not only direct

evidence of actual malice, but also well-recognized circumstantial evidence of actual

malice, including facts demonstrating CNN’s pursuit of a preconceived storyline and

disregard of contradictory evidence, motive to defame and bias against Veritas,

failure to comply with journalistic standards, and refusal to retract its defamatory

statements.



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                                   ARGUMENT

I.    The District Court Reversibly Erred by Holding That Cabrera’s
      Statement That Twitter Suspended Veritas for Publishing
      Misinformation Was “Substantially True”—for Multiple Independent
      Reasons.

      The district court fundamentally erred in holding that Cabrera’s and CNN’s

defamatory statement that Twitter had suspended Veritas for publishing and

“promoting misinformation” was substantially true. The court first ignored the

settled test for determining substantial truth—under which Cabrera’s statement was

plainly not substantially true. The court then adopted a comparative-harm test for

substantial truth that the law expressly rejects. It then misapplied its own improper

test by ignoring Veritas’ well-pled facts and the caselaw and authorities under which

Veritas more than satisfied even the court’s erroneous test.

      A.     Cabrera’s Defamatory Statement Was Not Substantially True
             Under the Proper Test for Determining Substantial Truth—
             Because Cabrera Accused Veritas of an Act of Misconduct It Did
             Not Commit.

      Cabrera’s defamatory statement that Twitter suspended Veritas for publishing

and promoting misinformation—when in reality Twitter suspended Veritas for

publishing truthful but (supposedly) private information—is plainly false under New

York defamation law. To satisfy the falsity element of a defamation claim at the

pleadings stage, a plaintiff need only “allege that the complained of statement is

‘substantially false.’” Franklin v. Daily Holdings, Inc., 135 A.D.3d 87, 94 (1st Dep’t



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2015); Leffler v. Kotick, 187 A.D.3d 543, 543 (1st Dep’t 2020). Stated differently,

“[i]f an allegedly defamatory statement is ‘substantially true,’ a claim of libel is

legally insufficient and should [be] dismissed.” Franklin, 135 A.D.3d at 94.

       This defamation law doctrine, known as “substantial truth,” protects

publishers by ensuring that defamation liability is not premised on a “slight

inaccuracy in the details” of a statement. Masson v. New Yorker Mag., Inc., 501

U.S. 496, 516-17 (1991); Shulman v. Hunderfund, 12 N.Y.3d 143, 150 (2009). But

it is axiomatic that for a statement to be substantially true—and therefore not “false”

for defamation-law purposes—its “overall gist or substance” must be true. Chau v.

Lewis, 771 F.3d 118, 129 (2d Cir. 2014).

       As the district court recognized below, courts in New York have often

explained “substantial truth” by stating that “‘[a] statement is substantially true if [it]

would not have a different effect on the mind of the reader from that which the

pleaded truth would have produced’” or if it “‘could have produced no worse an

effect on the mind of a reader than the truth pertinent to the allegation.’” (A48-49

(quoting Tannerite Sports, LLC v. NBCUniversal News Grp., 864 F.3d 236, 242 (2d

Cir. 2017), and Franklin, 135 A.D.3d at 94).) But those decisions, which cite to and

derive from the New York Court of Appeals’ decision in Fleckenstein v. Friedman,

266 N.Y. 19 (1934), make clear that the substantial truth inquiry focuses on whether

the challenged statement conveys substantially the same facts as the truth.



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      As the New York Court of Appeals explained in Fleckenstein, “[a] workable

test [for substantial truth] is whether the libel as published would have a different

effect on the mind of the reader from that which the pleaded truth would have

produced,” because “‘[w]hen the truth is so near to the facts as published that fine

and shaded distinctions must be drawn and words pressed out of their ordinary usage

to sustain a charge of libel, no legal harm has been done.’” Fleckenstein, 266 N.Y.

at 23 (quoting Cafferty v. Southern Tier Publ’g Co., 226 N.Y. 87, 93 (1919)).

Modern New York caselaw is fully in accord:

      While “minor inaccuracies” do not give rise to defamation, a statement
      is substantially true, and thus not actionable, if it would have the same
      effect “on the mind of the reader” as the “pleaded truth.” In other
      words, “[w]hen the truth is so near to the facts as published that fine
      and shaded distinctions must be drawn ... to sustain a charge of libel,
      no legal harm has been done.”

Goldman v. Reddington, 417 F. Supp. 3d 163, 171 (E.D.N.Y. 2019) (alterations in

original; citations omitted); Agbimson v. Handy, No. 17-cv-9252, 2019 WL

3817207, at *4 (S.D.N.Y. Aug. 14, 2019). Or, stated similarly:

      A statement is substantially true if the statement would not “have a
      different effect on the mind of the reader from that which the pleaded
      truth would have produced.” In other words, “it is not necessary to
      demonstrate complete accuracy to defeat a charge of libel. It is only
      necessary that the gist or substance of the challenged statements be
      true.”

Edward B. Beharry & Co. v. Bedessee Imports Inc., No. 09-cv-77, 2010 WL

1223590, at *6 (E.D.N.Y. Mar. 23, 2010) (citations omitted); accord Graterol-



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Garrido v. Vega, No. 20-cv-4209, 2021 WL 1541455, at *2 (S.D.N.Y. Apr. 20,

2021) (similar); Alpha Recyclying, Inc. v. Crosby, No. 14-cv-5015, 2016 WL

1178774, at *8 (S.D.N.Y. Mar. 23, 2016) (similar); Lopez v. Univision Commc’ns,

Inc., 45 F. Supp. 2d 348, 358-59 (S.D.N.Y. 1999) (similar).             Ultimately, the

substantial truth inquiry is exactly what its name suggests: Is the substance of a given

statement—as opposed to minor and immaterial details in the statement—true?

      Thus, for example, a report “that mistakenly says that the plaintiff stabbed a

man in Cheyenne, Wyoming when he really stabbed a man from Cheyenne,

Wyoming” would be substantially true because the misconduct alleged—that the

plaintiff stabbed a person—was correctly reported; only a minor detail was

incorrectly stated. Bustos v. A & E Television Networks, 646 F.3d 762, 764, 767

(10th Cir. 2011) (Gorsuch, J.). But accusing a person of shoplifting when he in fact

committed treason would be actionable—even though shoplifting is a much less

serious offense than treason—because the gist or substance of the defamatory

allegation is different from the truth. See Liberty Lobby, Inc. v. Anderson, 746 F.2d

1563, 1568 (D.C. Cir. 1984) (Scalia, J.). As a leading defamation treatise explains,

the key distinction is:

      between (1) inaccuracies that amount to charges of an act of misconduct
      different from the one plaintiff actually engaged in, and (2) cosmetic
      inaccuracies that correctly identify the act but err in describing minor
      details concerning the act.




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1 Rodney Smolla, Law of Defamation §5:20 (2d ed. 2022). The relevant question,

again, is whether the substance or gist of the statement aligns with the truth. E.g.,

Dibble v. WROC TV Channel 8, 142 A.D.2d 966, 967 (4th Dep’t 1988) (statements

that plaintiff was “indicted on charges of fraud, embezzlement and securities

violations” and “accused of misuse of clients’ escrow accounts and stock fraud”

were not substantially true where plaintiff had been indicted for grand larceny);

Mitre Sports Int’l Ltd. v. Home Box Off., Inc., No. 08-cv-9117, 2010 WL 1507792,

at *2 (S.D.N.Y. Apr. 15, 2010) (accusation that plaintiff exploited child labor in

India was not substantially true where plaintiff may have done so in China); Rizvi v.

N. Shore Hematology-Oncology Assocs., P.C., 69 Misc. 3d 1212, at *10 (Sup. Ct.

2020) (report labeling a preliminary injunction as “permanent” was not substantially

true).

         Under that test, Cabrera’s and CNN’s defamatory statement was plainly not

“substantially true.” Cabrera told CNN’s national television audience that Twitter

had suspended Veritas for publishing and “promoting misinformation.” (A17-18,

¶39.) But, in reality, Twitter had not suspended Veritas for publishing or promoting

misinformation. (A9, A14, A16, ¶¶5-6, 27, 31.) Rather, as Cabrera and CNN had

reported just four days earlier, Twitter had suspended Veritas for a decidedly

different reason: for publishing truthful but (supposedly) private information. (Id.)

Cabrera thus accused Veritas of an act of misconduct (publishing false information),



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when Veritas had in fact engaged in a completely different act (publishing truthful

but (supposedly) private information). Under a straightforward application of settled

law, Cabrera’s statement was thus not “substantially true,” and the district court

erred in holding otherwise. See, e.g., 1 Rodney Smolla, Law of Defamation §5:20;

Dibble, 142 A.D.2d at 967; Mitre Sports, 2010 WL 1507792, at *2.

      B.      The District Court Fundamentally Misconstrued the Test for
              Determining “Substantial Truth”—By Improperly Adopting a
              Comparative-Harm Test.

      The district court’s opinion makes clear that in holding Cabrera’s defamatory

statement “substantially true,” it fundamentally misconstrued the substantial truth

inquiry. Rather than comparing the “gist or substance” of Cabrera’s statement to the

true facts, the district court compared the magnitude of harm that it believed Veritas

suffered from Cabrera’s defamatory statement to the magnitude of harm it believed

Veritas would have suffered if Cabrera had instead reported the truth—and held

Cabrera’s false statement substantially true because it believed those harms were

equivalent:

      While Project Veritas asserts that CNN’s statements implying that
      Project Veritas was banned from Twitter for spreading misinformation
      maligns its “journalistic integrity,” the pleaded truth of being accused
      of violating a policy [Twitter’s private information policy] similarly
      maligns a journalist’s professional reputation. In essence, “substitute
      the true for the false and the damage to plaintiff’s reputation would
      be no less.”




                                         24
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(A51.) Although the court acknowledged that “there is some difference” in violating

a policy against publishing misinformation versus violating a policy against

publishing private information, it held that “the distinction is not enough to make the

statement at issue actionable as both violations are similarly damaging to the

journalist’s reputation.” (Id.)

       In so holding, the district court adopted a comparative harm test for substantial

truth that the law emphatically rejects. “[T]he substantial truth doctrine is not

concerned with harm, it is concerned with an essential element of the plaintiff’s

claim and dismisses the action [if] that element cannot be met. ... [T]he substantial

truth doctrine is concerned with truth (regardless of harm).” Jewell v. NYP Holdings,

Inc., 23 F. Supp. 2d 348, 394 (S.D.N.Y. 1998). Indeed, it has long been the law that

“[i]t is not a defense to a libel or slander that the plaintiff has been guilty of offenses

other than those imputed to him, or of offenses of a similar character.” Sun Printing

& Publ’g Ass’n v. Schenck, 98 F. 925, 926 (2d Cir. 1900). Thus, as explained in the

Restatement (Second) of Torts, it is “the truth or falsity of the particular charge that

is to be determined. It is not enough that the accused person is found to have engaged

in some other substantially different kind of misconduct even though it is equally or

more reprehensible.”      Restatement (Second) of Torts §581A cmt. f; see also

8A Stuart M. Speiser et al., Am. Law of Torts §29:86 (describing §581A and

explaining that “[m]odern case law is in accord with the Restatement”);



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William Prosser & Robert Keeton, The Law of Torts 841 (5th ed. 1984) (“If the

accusation is one of particular misconduct[,] it is not enough to show a different

offense, even though it be a more serious one.”).16

      The decision in Mitre Sports International Ltd. v. Home Box Office, Inc.,

No. 08-cv-9117, 2010 WL 1507792 (S.D.N.Y. Apr. 15, 2010), illustrates this

principle. There, the plaintiff sued HBO for defamation for asserting in a report on

child labor in India that it used Indian child labor to manufacture soccer balls. Id.

at *1. HBO responded that its report was substantially true because, even though

the plaintiff did not employ child labor in India, it (supposedly) did so in China. See

id. at *1-2. But the court rejected HBO’s substantial truth defense, explaining that

“HBO’s interpretation of the substantial truth defense is too broad”: “Given that the

segment focused exclusively on conditions in India and Pakistan, the nature of


16
  See also, e.g., Wallace v. Media News Grp., Inc., 568 F. App’x 121, 126 (3d Cir.
2014) (accusation that plaintiff was charged with murdering police informant and
dumping body in woods not substantially true even though plaintiff was charged
with murdering mother because of differences in the two murders: “[A]s grave as
the charges against [plaintiff] are, [plaintiff’s] complaint suggests that reasonable
members of the public could reach materially different conclusions about such things
as his culpability and danger to society at large if they believe that he has been
charged with committing the different (and additional) murder attributed to [another
person]. For that reason, we decline to treat these two alleged murders as
interchangeable for reputational purposes at the pleading stage.”); Hawkins v. Mercy
Health Servs., Inc., 583 N.W.2d 725, 735 (Mich. Ct. App. 1998) (“Certainly, it is no
defense to liability for defamation based on false implication that the plaintiff has
committed other, substantially unrelated, misconduct. That one has made a mistake,
or even committed intentional wrongdoing, in one context does not justify a false
implication about the person in another context.”).

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plaintiff’s operations in China, if any, cannot render the segment’s depictions of

alleged conditions in India substantially true.” Id. at *2. Plainly, accusing the

plaintiff of exploiting child labor in India was no more harmful to the plaintiff than

accusing it of exploiting child labor in China. Id. But the court held that even if the

plaintiff used child labor in China, evidence of that fact would not make HBO’s

allegations substantially true because the location of the misconduct was material to

HBO’s report. Id. There can be no clearer illustration that substantial truth cannot

turn on a comparative-harm test.

      Notably, even the very caselaw that the district court relied upon for its

comparative harm analysis confirms the court’s error. As support for the proposition

that a statement is substantially true as long as one can “‘substitute the true for the

false and the damage to plaintiff’s reputation would be no less’” (A51 (alterations

omitted)), the court quoted Haynes v. Alfred A. Knopf, Inc., 8 F.3d 1222, 1228 (7th

Cir. 1993). But the court overlooked the Haynes court’s express holding that for a

statement to be substantially true it must hew closely to the true facts: “The true

damaging facts must be closely related to the false ones.” Id.17 Otherwise, the




17
  The district court also cited Air Wisconsin Airlines Corp. v. Hoeper, 571 U.S. 237,
247 (2014), as supposedly justifying its comparative harm test under federal law.
But Air Wisconsin (a non-defamation case) did not even purport to do so, and in fact
made clear that a statement can only be substantially true if “‘the substance, the gist,
the sting, of the libelous charge’” is true. Id. (citing Masson, 501 U.S. at 517).


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Haynes court warned, a defendant could “bring[] to light every discreditable act that

the plaintiff may have committed, in an effort to show that he is as ‘bad’ as the

defamatory statements depict him.” Id. “This would strip people who had done bad

things of any legal protection against being defamed; they would be defamation

outlaws.” Id. And in a decision shortly after Haynes (written by the Judge who

authored Haynes), the Seventh Circuit further explained the error of the

comparative-harm approach to substantial truth that the district court undertook here:

      A sexual deviant might have a worse reputation than an embezzler, but
      it would not be a defense to a charge of falsely accusing a person of
      being an embezzler that while he is not an embezzler, he is a sexual
      deviant, and that is worse. Such a rule “would strip people who had
      done bad things of any legal protection against being defamed; they
      would be defamation outlaws.”

Desnick v. Am. Broad. Cos., 44 F.3d 1345, 1350 (7th Cir. 1995) (Posner, J.) (quoting

Haynes, 8 F.3d at 1228).

      In addition, the district court’s approach to substantial truth calls on judges to

decide cases based on arbitrary assessments about which of two competing

allegations is “worse.” As then-Judge Gorsuch put it, an approach like the district

court’s:

      asks courts to compare harms flowing from statements on radically
      different matters that may even be incommensurable—which is worse,
      a perjurer or an inside trader? a liar or a cheat? By contrast, the material
      falsehood analysis focuses judicial attention on the comparatively
      narrow question whether the particular challenged statement is true or
      false on its own terms—a task that falls well within the traditional (if
      human and imperfect) truth-finding function of juries and judges.


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Bustos, 646 F.3d at 766 (emphasis in original). The arbitrariness of such an inquiry

illustrates yet another reason the district court’s approach below cannot be—and

is not—the law.

      In eschewing the proper test for substantial truth in favor of a comparative-

harm test that the law rejects, the district court fundamentally and reversibly erred.18

As explained above, under the correct framework, Cabrera’s statement is

unquestionably not substantially true.

      C.     Veritas Satisfied Even the District Court’s Improper Comparative
             Harm Test for Substantial Truth—But the District Court Ignored
             Veritas’ Well-Pled Facts and Found Facts Outside the Pleadings in
             Holding Otherwise.

      Even if the district court’s comparative harm test for determining substantial

truth were correct (it is not), the court still erred in holding Cabrera’s defamatory

statement substantially true, because the harm caused by accusing a journalistic

organization like Veritas of publishing and “promoting misinformation” is

substantially greater than any harm from stating that it published truthful but private



18
   By failing to consider whether the “gist or substance” of Cabrera’s defamatory
statement was true and instead comparing the relative harms of that statement and
the truth, the district court appears to have confused the “conceptually distinct”
doctrines of “substantial truth” and “incremental harm.” See Jewell, 23 F. Supp. 2d
at 393-94. But New York’s highest court has never adopted or applied the
“incremental harm doctrine,” Friedman v. Rice, 5 N.Y.S.3d 816, 826 n.7 (Sup. Ct.
2015), courts that have applied it have cautioned that it “is to be sparingly applied,
if at all,” Stern v. Cosby, 645 F. Supp. 2d 258, 286-87 (S.D.N.Y. 2009), and no party
raised, briefed, or argued the incremental harm doctrine below.

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information—as confirmed by Veritas’ well-pled facts, substantial caselaw, and

leading authorities.

      As an initial matter, New York courts have repeatedly admonished that

determining the gravity of damage caused by a defamatory statement “is peculiarly

within the jury’s province”—in other words, it is a question of fact. E.g., Toomey v.

Farley, 2 N.Y.2d 71, 83 (1956); Yammine v. DeVita, 43 A.D.3d 520, 521 (3d Dep’t

2007); Calhoun v. Cooper, 206 A.D.2d 497, 497 (2d Dep’t 1994). And Veritas pled

in its Complaint that, unlike a statement that it published truthful but private

information—which does not impugn its journalistic integrity—the accusation that

it published and “promot[ed] misinformation” does exactly that, thereby imputing

to Veritas conduct “incompatible with” and “disqualification to fulfill” its business,

trade, or profession “as an investigative journalism organization.” (A7-8, A22-23,

¶¶2, 58-59.) Veritas further pled facts demonstrating why that is the case: Unlike a

statement that it published truthful information that someone may consider private,

an allegation that it published or promoted misinformation “lower[s] the credibility

of its reporting.” (Id.) The district court ignored these well-pled facts, and in doing

so it reversibly erred.

      But even had the district court been within its authority to resolve at the

motion-to-dismiss stage the question whether accusing a journalistic organization of

publishing truthful but (supposedly) private information is as harmful as accusing it



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of publishing and “promoting misinformation” (the court lacks that authority), the

court reversibly erred in finding the harm caused by those two statements to be

comparable—especially as a matter of law. Courts in New York and around the

country have repeatedly recognized the paramount importance of credibility to a

journalistic organization. As the Second Circuit explained in holding it libelous to

falsely accuse a journalist of dishonesty, “any journalist, commentator or analyst is

entitled not to be lightly characterized as inaccurate and dishonest or libelous. We

cannot disagree with the finding of the court below that it is ‘crucial’ to such a

person’s career that he or she not be so treated.” Buckley v. Littell, 539 F.2d 882,

896-97 (2d Cir. 1976); see also, e.g., Newspaper Guild v. NLRB, 636 F.2d 550, 560

(D.C. Cir. 1980) (“In a very real sense, [editorial integrity] is to a newspaper or

magazine what machinery is to a manufacturer. At least with respect to most news

publications, credibility is central to their ultimate product and to the conduct of the

enterprise.”); Manson v. Little Rock Newspapers, Inc., 42 F. Supp. 2d 856, 866 (E.D.

Ark. 1999), aff’d, 200 F.3d 1172 (8th Cir. 2000) (“‘Editorial integrity and credibility

are core objectives of editorial control[.]’” (quoting Nelson v. McClatchy

Newspapers, Inc., 936 P.2d 1123, 1131 (Wash. 1997))).

      Leading journalism texts and scholarship likewise emphasize the critical

importance of credibility and integrity to journalists. As a foundational journalism

text explains, “[t]he desire that information be truthful is elemental. Since news is



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the material that people use to learn and think about the world beyond themselves,

the most important quality it can possess is that it be usable and reliable.” Bill

Kovach & Tom Rosenstiel, The Elements of Journalism 45 (4th ed. 2021); see also,

e.g., Clay Calvert, The First Amendment, Journalism & Credibility: A Trio of

Reforms for a Meaningful Free Press More Than Three Decades After Tornillo,

4 First Amend. L. Rev. 9, 17 (2005) (“[C]redibility is more than just a journalistic

goal.... Press credibility is a central, if not critical, rationale for the constitutional

protection of a free press.”); Matthew C. Ehrlich, Hollywood and Journalistic

Truthtelling, 19 Notre Dame J.L. Ethics & Pub. Pol’y 519, 519 (2005) (recognizing

“truthtelling” as “the paramount principle of journalism”); Am. Press Inst.,

Journalism as a Discipline of Verification (“Journalists often describe the essence

of their work as finding and presenting ‘the facts’ and also ‘the truth about the

facts.’”).19

       Codes of conduct and the mission statements of major media outlets across

the country likewise emphasize the paramount importance of credibility and

integrity to journalistic organizations. For example:




19
  https://www.americanpressinstitute.org/journalism-essentials/verification-
accuracy/journalism-discipline-verification (last visited June 20, 2022).


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     • The L.A. Times: “Credibility, a news organization’s most precious asset, is
       arduously acquired and easily squandered.”20

     • The Washington Post: “The first mission of a newspaper is to tell the truth
       as nearly as the truth may be ascertained.”21

     • The Chicago Tribune: “If [readers] have reason to doubt the credibility of
       our work, quality won’t matter—they will go elsewhere. That is especially
       important in the increasingly competitive multimedia world.”22

     • The N.Y. Times: “[K]nowingly or recklessly provid[ing] false information
       for publication betray[s] our fundamental pact with our readers.”23 “At a time
       of growing and even justified public suspicion about the impartiality, accuracy
       and integrity of some journalists and some journalism, it is imperative that
       The Times and its staff maintain the highest possible standards to insure that
       we do nothing that might erode readers’ faith and confidence in our news
       columns.”24

        And tellingly, CNN itself has admitted the paramount importance of

credibility and integrity to the journalistic enterprise. As the California Supreme

Court observed in another case against CNN, “CNN presented evidence tending to

show that its ability to participate meaningfully in public discourse on [matters of


20
    L.A. Times, Ethics Guidelines, https://www.latimes.com/la-times-ethics-
guidelines-story.html (last visited June 20, 2022).
21
   Wash. Post, About the Post, https://www.washingtonpost.com/about-the-post/
(last visited June 20, 2022).
22
       Chicago    Tribune,     Tribune    Code   of   Editorial  Principles,
http://www.trbas.com/media/media/acrobat/2017-04/70017931280960-
25200546.pdf (last visited June 20, 2022)
23
     N.Y. Times, Ethical Journalism, https://www.nytimes.com/editorial-
standards/ethical-journalism.html# (last visited June 20, 2022).
24
    N.Y. Times, Guidelines on Integrity, https://www.nytimes.com/editorial-
standards/guidelines-on-integrity.html (last visited June 20, 2022).


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public interest] depends on its integrity and credibility.” Wilson v. Cable News

Network, Inc., 444 P.3d 706, 722 (Cal. 2019).

      This is powerful evidence that Cabrera’s accusation that Veritas published and

“promot[ed] misinformation” is more damaging to Veritas than a true statement that

Veritas published truthful but (supposedly) private information would have been.

And it is powerful evidence that the district court’s ipse dixit holding to the contrary

as a matter of law was erroneous, especially at the motion-to-dismiss stage—even if

the court’s comparative harm analysis were proper (and it is not).

II.   Veritas’ Complaint More Than Sufficiently Pled Actual Malice.

      Because the district court granted CNN’s motion to dismiss on the ground of

substantial truth, it did not address CNN’s argument that Veritas failed to plausibly

allege actual malice (A54-55)—the only other ground on which CNN moved to

dismiss. (DE 20-1 at 22-23.) But because this Court may affirm on any ground

supported by the record, Cavalieri v. Avior Airlines C.A., 25 F.4th 843, 852 (11th

Cir. 2022), Veritas briefly explains here how it more than sufficiently pled actual

malice.

      Although Veritas bears the burden of pleading that Cabrera made her false

statement with actual malice—i.e., with knowledge that it was false or with reckless

disregard for its truth or falsity, N.Y. Times v. Sullivan, 376 U.S. 254, 279-80

(1964)—that is not a prohibitively-high hurdle, especially at the pleadings stage:



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a plaintiff need only proffer facts giving rise to a “plausible inference” of actual

malice. Palin v. N.Y. Times Co., 940 F.3d 804, 814-15 (2d Cir. 2019). Moreover,

because defamation-defendants, unsurprisingly, “are prone to assert their good-faith

belief in the truth of their publications” such that “plaintiffs will rarely be successful

in proving awareness of falsehood from the mouth of the defendant himself,”

Herbert v. Lando, 441 U.S. 153, 170 (1979), “a plaintiff is entitled to prove the

defendant’s state of mind through” either direct or “circumstantial evidence.”

Harte-Hanks Commc’ns, Inc. v. Connaughton, 491 U.S. 657, 668 (1989); see also

Celle v. Filipino Rep. Enters., 209 F.3d 163, 183 (2d Cir. 2000); Dalbec v.

Gentleman’s Companion, Inc., 828 F.2d 921, 927 (2d Cir. 1987). In addition, the

Supreme Court has admonished that because “proof of ‘actual malice’ calls a

defendant’s state of mind into question,” where lack of fault is not clear, this element

“does not readily lend itself to summary disposition.” Hutchinson v. Proxmire, 443

U.S. 111, 120 n.9 (1979) (citing 10B Charles Alan Wright et al., Fed. Prac. & Proc.

Civ. §2730); see also OAO Alfa Bank v. Ctr. for Pub. Integrity, 387 F. Supp. 2d 20,

49 (D.D.C. 2005) (“[T]he question of actual malice is ordinarily one for the jury[.]”);

Kaelin v. Globe Commc’ns Corp., 162 F.3d 1036, 1042 (9th Cir. 1998) (“statements

of [] subjective intention are matters of credibility for a jury”).

      Here, Veritas pled facts constituting both direct and circumstantial evidence

of Cabrera’s (and CNN’s) actual malice.



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      A.     Veritas Pled Facts Constituting Direct Evidence of Actual Malice.

      Veritas pled more than sufficient facts constituting direct evidence of

Cabrera’s (and CNN’s) actual malice in publishing their false statement that Twitter

suspended Veritas for publishing and “promoting misinformation.” In fact, Veritas

pled that Cabrera (and CNN) had actual knowledge that their statement was false, as

evidenced by the fact that on February 11, 2021—just four days before making their

false statement on February 15, 2021—Cabrera tweeted and CNN reported that

Twitter had suspended Veritas for “violations of Twitter’s policies prohibiting the

sharing—or threats of sharing—of other people’s private information without

consent.” (A7-9, A16-17, ¶¶2, 6, 31, 37.)25 In other words, at the time Cabrera (and

CNN) falsely told a national television audience that Twitter had suspended Veritas

for publishing and “promoting misinformation,” they had actual knowledge that

Twitter had actually suspended Veritas for publishing truthful but (supposedly)

private information—not for publishing or promoting “misinformation.” That is

actual knowledge of falsity, full stop.




25
     Ana Cabrera (@AnaCabrera), Twitter (Feb. 11, 2021, 4:27pm),
https://twitter.com/anacabrera/status/1359977301312761857 (cited at A9, A17 ¶¶6,
37); Brian Fung, Twitter Permanently Bans Project Veritas Account, CNN (Feb. 11,
2021),      https://www.cnn.com/2021/02/11/tech/twitter-project-veritas/index.html
(cited at A9, A16, ¶¶6, 31).


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      Moreover, even if Cabrera’s prior tweet and CNN’s prior report did not

demonstrate Cabrera’s and CNN’s actual knowledge that their defamatory statement

was false (it does), it unquestionably demonstrates their reckless disregard for the

truth. Indeed, courts have repeatedly held that such facts give rise to a plausible

inference of actual malice. E.g., Palin, 940 F.3d at 814-15 (actual malice plausibly

pled where speaker previously reviewed and edited articles contradicting his false

statements); Lemelson v. Bloomberg, L.P., 903 F.3d 19, 25 (1st Cir. 2018) (“[A]ctual

malice can be shown where the publisher is in possession of information that

seriously undermines the truth of its story.”); Golden Bear Distrib. Sys. of Tex., Inc.

v. Chase Revel, Inc., 708 F.2d 944, 950 (5th Cir. 1983) (upholding defamation

verdict for plaintiff when defendant-reporter’s notes showed awareness of facts

contradicting her story); Eramo v. Rolling Stone, LLC, 209 F. Supp. 3d 862, 874

(W.D. Va. 2016) (similar).

      B.     Veritas Pled Facts Constituting Circumstantial Evidence of Actual
             Malice.

      Veritas   further   pled   substantial    facts   constituting    well-recognized

circumstantial evidence of actual malice. Notably, in evaluating the sufficiency of

such circumstantial evidence—or, here, factual allegations—courts must take a

holistic approach that examines the totality of the allegations to determine whether,

collectively, they are capable of giving rise to an inference of knowledge of falsity

or reckless disregard for the truth. Celle, 209 F.3d at 183. “‘There is no doubt that


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evidence of negligence, of motive and of intent may be adduced for the purpose of

establishing, by cumulation and by appropriate inferences, the fact of a defendant’s

recklessness or of his knowledge of falsity.’” Id. (quoting Goldwater v. Ginzburg,

414 F.2d 324, 342 (2d Cir. 1969)). Thus, for example, although bias or ill will may

not alone be sufficient to demonstrate actual malice, “evidence concerning motive”

or bias is a relevant evidentiary building block toward proving actual malice.

Connaughton, 491 U.S. at 668; Celle, 209 F.3d at 183. Similarly, although a failure

to properly investigate may not alone prove actual malice, it is one piece of evidence

that can support a finding of actual malice. E.g., Hunt v. Liberty Lobby, 720 F.2d

631, 645 (11th Cir. 1983); Vandenburg v. Newsweek, Inc., 441 F.2d 378, 380 (5th

Cir. 1971).

      Preconceived Storyline and Avoidance of Contradictory Information.

A jury can find actual malice based on “a predetermined and preconceived plan to

malign [the plaintiff’s] character.” Goldwater v. Ginzburg, 414 F.2d 324, 337 (2d

Cir. 1969); accord Palin, 940 F.3d at 813 (holding actual malice properly pled

where plaintiff’s “overarching theory of actual malice [was] that [defendant] had a

‘pre-determined’ argument he wanted to make” and ignored evidence contradicting

it). Indeed, “‘evidence that a defendant conceived a story line in advance of an

investigation and then consciously set out to make the evidence conform to the

preconceived story is evidence of actual malice, and may often prove to be quite


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powerful evidence.’” Harris v. City of Seattle, 152 F. App’x 565, 568 (9th Cir. 2005)

(quoting 1 Rodney A. Smolla, Law of Defamation §3:71 (2d ed. 2022)); accord

Gertz v. Robert Welch, Inc., 680 F.2d 527, 539 (7th Cir. 1982) (finding actual malice

because, inter alia, defendant “conceived of a storyline” and then published a

defamatory article consistent with it); Sharon v. Time, Inc., 599 F. Supp. 538, 576

(S.D.N.Y. 1984) (similar).

      Veritas pled that Cabrera and CNN set out with a preconceived plan to malign

and discredit Veritas by accusing it of publishing and promoting misinformation—

and deliberately ignored compelling evidence that their accusation was false. (A13,

A16-17, A21, ¶¶24, 35-36, 51.) Moreover, Veritas pled facts showing why Cabrera

and CNN did so: to undermine Veritas’ “regular” reporting about CNN that has

“call[ed] into question the accuracy and integrity of CNN’s reporting,” and “show[n]

significant bias in [CNN’s] reporting.” (A13, A16-17, A21, ¶¶24, 35-36, 51.) And

cementing the plausibility of those facts, Veritas pled that CNN has previously

targeted Veritas because of its reporting on CNN, even baselessly threatening

Veritas with felony prosecution. (A21, ¶51.)

      Bias, Motive, Ill Will, and CNN’s Previous Interactions with Veritas.

“[E]vidence concerning motive,” bias, “animosity,” and ill will “support a finding




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of actual malice.” Connaughton, 491 U.S. at 668; Celle, 209 F.3d at 183, 186, 189.26

Moreover, actual malice can be inferred from “the nature and circumstances of the

alleged defamation or previous dealings with the defendant.” Biro v. Condé Nast,

807 F.3d 541, 546 (2d Cir. 2015). Veritas pled that in response to Veritas’ exposés

on CNN that uncovered and reported journalistic malfeasance at the network, CNN

has repeatedly threatened Veritas (including with baseless threats of felony

prosecution), holds substantial animus against it, and was driven by ill will to defame

Veritas. (A13, A16-17, A21, ¶¶24, 35-36, 51.)

      Failure to Comply With Journalistic Standards. A journalist’s failure to

comply “with the standards of [the] profession in information gathering and

dissemination” further constitutes circumstantial evidence of actual malice. Kerwick

v. Orange Cnty. Publ’ns Div. of Ottaway Newspapers, Inc., 53 N.Y.2d 625, 627

(1981); Connaughton, 491 U.S. at 693. Veritas pled that Cabrera and CNN failed to

comply with basic journalistic standards, as demonstrated by the fact that even the

most basic inquiry regarding the reason for Veritas’ Twitter suspension would have

confirmed that Twitter had suspended Veritas for publishing truthful but

(supposedly) private information, not for anything remotely having to do with



26
  See also, e.g., Shoen v. Shoen, 48 F.3d 412, 417 (9th Cir. 1995) (“[I]ll will is
considered circumstantial evidence of actual malice.”); Duffy v. Leading Edge
Prods., Inc., 44 F.3d 308, 315 n.10 (5th Cir. 1995) (“[E]vidence of ulterior motive
can often bolster an inference of actual malice.”).

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publishing misinformation. (A22, ¶54.) Indeed, Cabrera and CNN need not have

looked any farther than their own tweets and reporting from just four days earlier to

confirm that. (A7-9, A16-17, ¶¶2, 6, 31, 37.)

      Refusal To Retract/Apologize. “[A] refusal to retract” constitutes “evidence

of actual malice.” Schafer v. Time, Inc., 142 F.3d 1361, 1370 n.8 (11th Cir. 1998)

(observing that “a number of courts” have so held); Morgan v. Dun & Bradstreet,

Inc., 421 F.2d 1241, 1243 (5th Cir. 1970) (“[T]he refusal of the defendant to retract

or to issue a corrected report on request is likewise evidence of [actual] malice.”);

Tavoulareas v. Piro, 763 F.2d 1472, 1477 (D.C. Cir. 1985) (“Evidence of the

[defendant’s] steadfast refusal to retract [is] properly considered as bearing on the

issue of actual malice.” (citing Restatement (Second) of Torts §580A cmt. d));

Zerangue v. TSP Newspapers, Inc., 814 F.2d 1066, 1071 (5th Cir. 1987); Ventura v.

Kyle, 63 F. Supp. 3d 1001, 1014 (D. Minn. 2014) (“most authorities” so hold), rev’d

on other grounds, 825 F.3d 876 (8th Cir. 2016).

      Veritas asked CNN and Cabrera to retract their false statement that Veritas

was suspended from Twitter for publishing misinformation and even explained the

falsity of their statement, but CNN and Cabrera expressly refused to retract it. (A11,

A19-20, ¶¶12, 45-46.) Indeed, CNN and Cabrera, in refusing to retract their

statement, did not even contend that it was true, but rather refused to retract only

because they believed they could argue that it was not “defamation per se.” (A19-



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20, ¶¶45-46.) Stated differently, CNN and Cabrera refused to retract their statement

not because they believed it is true, but because they believed they could get away

with saying it either because it is not defamatory per se (it is),27 or because Veritas

could not prove, as a matter of fact, that it was damaged by CNN’s statement (it

was).28 In other words, Cabrera and CNN made their decision not to retract based

on their perception of legal risk, not journalistic ethics, which impose an “ethical

responsibility to correct all its factual errors, large and small” and require that “[i]f

a correction is warranted, fairness demands that it be published immediately.” N.Y.

Times, Guidelines on Integrity. That, too, is evidence of actual malice. See Kerwick,

53 N.Y.2d at 627; Connaughton, 491 U.S. at 693.

                                          ***

      These well-pled facts, especially in combination, more than sufficiently raise

a plausible inference of actual malice.

                                   CONCLUSION

      For the foregoing reasons, Veritas respectfully requests that the Court reverse

the district court’s judgment dismissing its defamation claim against CNN and


27
   See John Langenbacher Co. v. Tolksdorf, 199 A.D.2d 64, 65 (1st Dep’t 1993)
(statements that “impugn[] the basic integrity ... [or] competence of [a] business” are
defamatory per se); Celle, 209 F.3d at 180 (same).
28
   A19, A22, ¶¶44, 55-58; see also Lavazza Premium Coffees Corp. v. Prime Line
Distribs. Inc., --- F. Supp. 3d ----, 2021 WL 5909976, at *20 (S.D.N.Y. 2021)
(if statement is not defamatory per se, plaintiff must prove damages).


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remand this case to the district court with instructions that the parties proceed to

discovery.



Date: June 22, 2022                   Respectfully Submitted,

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       I hereby certify that a true and correct copy of this Principal Brief of Plaintiff-

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CM/ECF system on June 22, 2022, which will send notification of such filing to

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Dated: June 22, 2022                      By:      /s/ Elizabeth M. Locke, P.C
                                                 Elizabeth M. Locke, P.C.




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